            Case 1:21-cr-00346-BAH Document 24 Filed 08/16/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                 v.                           :       Case No. 21-cr-346 (BAH)
                                              :
GLEN MITCHELL SIMON,                          :
                                              :
                           Defendant.

          UNITED STATES’ REPORT ON THE LENGTH AND SOURCE OF THE
          VIDEO EVIDENCE DESCRIBED IN THE STATEMENT OF OFFENSE

          On August 15, 2021, the Court ordered the government to submit to the Court a report on

the length and source(s) of the video evidence described in the Statement of Offense.   The United

States described three videos (Video 1, Video 2, and Video 3) in the Statement of Offense. All

of the videos were collected from Simon’s cellular telephone, seized during execution of a Rule

41 search warrant.     Video 1 is 52 seconds in length.    Video 2 is 6 minutes and 23 seconds in

length.    Video 3 is 1 minute and 56 seconds in length.

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793


                                      By:     Laura E. Hill
                                              Trial Attorney, detailed to the
                                              District of Columbia
                                              NV Bar 13894
                                              175 N Street, NE
                                              Washington, D.C. 20002
                                              (202) 598-3962
                                              Laura.E.Hill@usdoj.gov

                                              Amy Larson
                                              Assistant United States Attorney
                                              555 4th Street, NW
                                              Washington, D.C. 20530




                                                  1
Case 1:21-cr-00346-BAH Document 24 Filed 08/16/21 Page 2 of 2



                           (202) 252-7863
                           Amy.Larson@usdoj.gov




                              2
